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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 23-cv-21023-ALTONAGA/DAMIAN

  EDWIN GARRISON, et al., on behalf of
  themselves and all others similarly situated,

         Plaintiffs,

  v.

  BEN ARMSTRONG, et al.,

        Defendants.
  _______________________________________/

                                             ORDER

         THIS CAUSE is before the Court on Plaintiffs’ Request for a Status Conference, to

  Bring Awareness of Defendant Armstrong’s Harassment Towards Plaintiffs’ Counsel, filed

  March 20, 2023 [ECF No. 5] (the “Request”), the Order granting the Request [ECF No. 6],

  and Plaintiffs’ Notice of Proof of Service on Defendant Armstrong and Materials for Show

  Cause Hearing, filed April 5, 2023 [ECF No. 20] (the “Notice”). This matter was referred to

  the undersigned by the Honorable Cecilia M. Altonaga, Chief United States District Judge,

  to take all necessary and proper action as required by law. [ECF No. 6]. See 28 U.S.C. §

  636(b)(1).

         THE COURT has considered Plaintiffs’ Request and Notice and the pertinent portions

  of the record and is otherwise fully advised in the premises.

         On March 21, 2023, this Court directed Plaintiffs’ counsel to notify the Court when

  Defendant Ben Armstrong has been served with process and with the Request. [ECF No. 12].

  The record and Plaintiffs’ Notice reflect that Defendant Armstrong was served with process

  and with the Request on April 5, 2023. [ECF No. 21].
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          Accordingly, it is hereby

          ORDERED AND ADJUDGED that counsel for Plaintiffs and Defendant Ben

  Armstrong 1 and Mr. Armstrong himself shall appear on April 20, 2023, at 10:00 a.m., before

  the undersigned at the C. Clyde Atkins United States Courthouse, 301 North Miami Avenue,

  5th Floor, Miami, Florida 33128, for a Status Conference to address the matters alleged in

  Plaintiffs’ Request and Notice. Counsel for all other Defendants are not required to but may

  attend. Prior to your courthouse visit, please review the Court’s Administrative Orders

  regarding entry into the courthouse by non-attorneys, including the applicable rules regarding

  cellular telephones and electronic devices (https://www.flsd.uscourts.gov/prohibited-

  electronic-devices). It is further

          ORDERED that by April 14, 2023, Plaintiffs’ counsel shall email a copy of this Order

  to Defendant Ben Armstrong at bitboy@bitboycrypto.com and mail a copy of this Order to

  Defendant Ben Armstrong through certified mail (or another service providing for tracking

  and requiring a signature upon receipt) and shall file a notice of compliance with this Order.

  It is further

          ORDERED that any written Response to the Notice and Request must be filed and

  served no later than April 18, 2023.

          DONE AND ORDERED in Chambers at Miami, Florida, this 12th day of April, 2023.

                                             ____________________________________
                                             MELISSA DAMIAN
                                             UNITED STATES MAGISTRATE JUDGE

  Copies to:
  Hon. Cecilia M. Altonaga, Chief U.S. District Judge
  Counsel of Record

  1
   The Court notes that no counsel has entered an appearance on behalf of Mr. Armstrong. In
  the event no counsel has entered an appearance on behalf of Mr. Armstrong by the time of
  the hearing, Mr. Armstrong shall nonetheless appear pro se.
                                              2
